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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                   GREENBELT DIVISION


                                  :
ALAN CHRISTOPHER MARTIN,          :
                                  :
                Plaintiff,        :
      v.                          :
                                  :
FMS FINANCIAL SOLUTIONS LLC       : Civil Action No.: 8:17-cv-911
                                  :
                                  :
and                               :
                                  :
EQUIFAX INFORMATION SERVICES, LLC :
                                  :
                                  :
                Defendants.       :
                                  :
                                  :
                                  :

       JOINT NOTICE OF SETTLEMENT OF CLAIMS AGAINST DEFENDANT EQUIFAX
                           INFORMATION SERVICES, LLC

           Plaintiff Alan Christopher Martin and Christine Miller (“Plaintiff”) and Defendant

Equifax Information Services, LLC (“Equifax”) respectfully submit this Notice of Settlement,

and inform the Court as follows:

        1. Plaintiff has reached an agreement with Equifax to resolve the claims against it.

        2. The parties are in the process of finalizing a confidential settlement agreement and will

           be filing a Notice of Dismissal with the Court shortly.




	  
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       3. Accordingly, the Plaintiff and Equifax request that all discovery obligations be stayed

          and that Equifax be excused from the mediation scheduled with Judge Jillyn Schulze for

          August 29, 2017.


Dated: August 21, 2017

	  
Respectfully submitted,
	  
	  
/s/ Courtney L. Weiner                          /s/ Nathan D. Adler
Courtney L. Weiner (#19463)                     Nathan D. Adler (#22645)
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Attorney for Plaintiff                          Attorney for Defendant, Equifax Information
                                                Services, LLC
	  




	  
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 21, 2017, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which automatically sends an electronic notification

to CM/ECF participants.


                                     /s/ Courtney L. Weiner
                                     Courtney L. Weiner




	  
